Case 1:05-cr-10035-.]DT Document 5 Filed 05/31/05 Page 1 of 2 Page|D 5

UNITED sTATEs I)ISTRICT COURT ’ %FL
WESTERN DISTRICT oF TENNESSEE §§ F`__, § f

Western Division p'!"§ ?’ :"[`
UNITED sTATEs oF AMERICA ct l`_,§;;‘ST“U..`
W.u_ cia ;~'N. h.rzEMi'-“:
_vs_ Case No. 1:05cr10035-T

JAl\iES S. HILL aka “SUGARMAN”

 

ORDER APPOINTING COUNSEL PURSUANT TO
TI'IE CRIMINAL JUSTICE AC'I`

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All proceedings including appeal.

DONE and ORDERED in 167 North Main, Memphis, TN this gl't day of May,
2005.

F..._

. THOMAS ANDERSON
UN[TED STATES MAGISTRATE IUDGE

Copies filmished to:

United States Attorney

United States Marshal

Pretrial Services Oftice

Assistant Federal Public Defender
Intake

 

ISTRIC COURT - WESRNTE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case l:05-CR-10035 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listedl

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

